       Case 3:17-cv-04002-LB Document 28-1 Filed 10/24/17 Page 1 of 4



 1   MELODY DRUMMOND HANSEN (S.B. #278786)
     mdrummondhansen@omm.com
 2   HEATHER J. MEEKER (S.B. #172148)
     hmeeker@omm.com
 3   O’MELVENY & MYERS LLP
     2765 Sand Hill Road
 4   Menlo Park, California 94025-7019
     Telephone: +1 650 473 2600
 5   Facsimile:    +1 650 473 2601
 6   CARA L. GAGLIANO (S.B. #308639)
     cgagliano@omm.com
 7   Two Embarcadero Center
     28th Floor
 8   San Francisco, California 94111-3823
     Telephone: +1 415 984 8700
 9   Facsimile:    +1 415 984 8701
10   Attorneys for Defendant
     Bruce Perens
11

12                              UNITED STATES DISTRICT COURT

13                             NORTHERN DISTRICT OF CALIFORNIA

14                                      SAN FRANCISCO

15

16   OPEN SOURCE SECURITY, INC., and            Case No. 3:17-cv-04002-LB
     BRADLEY SPENGLER,
17                                               DECLARATION OF MELODY
                          Plaintiffs,            DRUMMOND HANSEN IN SUPPORT
18                                               OF STIPULATED REQUEST TO SET
            v.                                   REVISED SCHEDULE FOR
19                                               PROCEEDINGS ON MOTION FOR
     BRUCE PERENS, and Does 1-50,                PARTIAL SUMMARY JUDGMENT,
20                                               ANTI-SLAPP MOTION, AND
                          Defendants.            MOTION TO DISMISS
21
                                                 Judge: Hon. Laurel Beeler
22

23

24

25

26

27

28
                                                 DRUMMOND HANSEN DECL. ISO STIPULATED
                                                      REQUEST TO SET REVISED SCHEDULE
                                                               CASE NO. 3:17-CV-04002-LB
       Case 3:17-cv-04002-LB Document 28-1 Filed 10/24/17 Page 2 of 4



 1                      DECLARATION OF MELODY DRUMMOND HANSEN
 2          I, Melody Drummond Hansen, declare as follows:

 3          1.      I am a partner of O’Melveny & Myers LLP, the attorneys of record for Defendant

 4   Bruce Perens in the above-referenced action, and am admitted to practice before this Court.

 5   Pursuant to Civil Local Rule 6-2(a), I submit this declaration in support of the parties’ Stipulated

 6   Request to Set Revised Schedule for Proceedings on Motion for Partial Summary Judgment,

 7   Anti-SLAPP Motion, and Motion to Dismiss. I have personal knowledge and am informed of the

 8   facts stated herein and, if called to testify, I could and would testify completely hereto.

 9          2.      On September 18, 2017, Mr. Perens moved to strike all claims of the original

10   complaint (ECF No. 1) under the California anti-SLAPP law, Cal. Civ. Proc. Code § 425.16, and

11   to dismiss all claims under Federal Rule of Civil Procedure 12(b)(6). (ECF No. 11.)

12          3.      On October 2, Plaintiffs filed a First Amended Complaint. (ECF No. 18, “FAC.”)

13   On October 10, Mr. Perens notified the Court that he was withdrawing his motions solely on the

14   basis of procedural mootness and informed the Court of his intent to file renewed motions to

15   strike and to dismiss the FAC and to seek fees based on both complaints. (ECF No. 21.) On

16   October 11, the parties stipulated to extend Mr. Perens’s deadline to respond to the FAC from

17   October 16 to October 31. (ECF No. 23.)

18          4.      Also on October 11, Plaintiff Open Source Security, Inc. (“OSS”) filed a motion

19   for partial summary judgment as to its claim for defamation per se.

20          5.      The parties previously attempted to reach an agreement on a schedule for briefing

21   and hearing on OSS’s motion for partial summary judgment and Mr. Perens’s renewed anti-

22   SLAPP motion and motion to dismiss, but they were unable to reach an agreement. Mr. Perens

23   then moved for a continuance on the briefing and hearing dates for OSS’s motion for partial

24   summary judgment. (ECF No. 26.)

25          6.      On October 21, the Court entered an order deferring ruling on Mr. Perens’s motion

26   to continue, stating that a response was due under the local rules by Tuesday, October 24, and

27   encouraging the parties to further confer on a schedule. (ECF No. 27.)

28                                                                       DRUMMOND HANSEN DECL. ISO
                                                                       STIPULATED REQUEST FOR ORDER
                                                        2
                                                                            SETTING REVISED SCHEDULE
                                                                              CASE NO. 3:17-CV-04002-LB
       Case 3:17-cv-04002-LB Document 28-1 Filed 10/24/17 Page 3 of 4



 1          7.      In accordance with the Court’s guidance, the parties further conferred regarding
 2   the proposed schedules and reached a compromise agreement on the following schedule:
 3                                Event                                     Proposed Date
 4      Defendant’s opposition to OSS’s motion for partial          October 31, 2017
        summary judgment
 5      Defendant’s response to the First Amended Complaint         October 31, 2017
        (anti-SLAPP motion and motion to dismiss)
 6      OSS’s reply in support of motion for partial summary        November 14, 2017
 7      judgment
        Plaintiffs’ response to Defendant’s anti-SLAPP motion       November 21, 2017
 8      and motion to dismiss
        Defendant’s replies in support of anti-SLAPP motion         November 30, 2017
 9      and motion to dismiss
10      Combined hearing on Defendant’s anti-SLAPP motion           December 14, 2017
        and motion to dismiss, and OSS’s motion for partial
11      summary judgment

12          8.      The parties’ proposals are for the convenience of the parties and the Court and to
13   promote orderly resolution of the parties’ disputes. The parties propose a combined hearing for
14   the motions to conserve Court and party resources and to permit more efficient consideration of
15   overlapping issues raised by those motions.
16          9.      The only dates affected by the proposed schedule are the dates relating to OSS’s
17   motion for partial summary judgment and Mr. Perens’s forthcoming renewed anti-SLAPP and
18   Rule 12(b)(6) motions. The Court previously granted a stipulated request to reschedule the Initial
19   Case Management Conference and related deadlines. (ECF Nos. 15, 16.) On October 11, 2017,
20   the parties stipulated to extend Mr. Perens’s deadline to answer or otherwise respond to Plaintiffs’
21   First Amended Complaint. (ECF No. 23.)
22          10.     I declare under penalty of perjury under the laws of the United States that the
23   foregoing is true and correct, and that this declaration was executed this 24th day of October,
24   2017 in San Francisco, California.
25

26

27

28                                                                     DRUMMOND HANSEN DECL. ISO
                                                                     STIPULATED REQUEST FOR ORDER
                                                      3
                                                                          SETTING REVISED SCHEDULE
                                                                            CASE NO. 3:17-CV-04002-LB
     Case 3:17-cv-04002-LB Document 28-1 Filed 10/24/17 Page 4 of 4



 1

 2
                                             By: /s/ Melody Drummond Hansen
 3                                              Melody Drummond Hansen
                                                Of O’Melveny & Myers LLP
 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28                                                       DRUMMOND HANSEN DECL. ISO
                                                       STIPULATED REQUEST FOR ORDER
                                         4
                                                            SETTING REVISED SCHEDULE
                                                              CASE NO. 3:17-CV-04002-LB
